
SHIVERS, Senior Judge.
Appellant challenges the legality of a sentencing provision requiring him to pay $250.00 for participating in the Bay County Work Program. We have recently held that these work program costs are without legal basis. E.g., Dykes v. State, 623 So.2d 827 (Fla. 1st DCA 1993); Jones v. State, 622 So.2d 1153 (Fla. 1st DCA 1993); Blanchette v. State, 620 So.2d 258 (Fla. 1st DCA 1993); Martin v. State, 618 So.2d 737 (Fla. 1st DCA 1993). Accordingly, we strike paragraph (13) of the sentencing order, the provision requiring Appellant to pay $250.00 as additional costs for participation in the Bay County Work Program, and we certify the same question of great public importance certified in Blanchette:
IS BAY COUNTY, FLORIDA, AUTHORIZED TO ESTABLISH PURSUANT TO ADMINISTRATIVE ORDER AN ASSESSMENT TO COVER COSTS ASSOCIATED WITH A PROBATIONER’S PARTICIPATION IN THE BAY COUNTY WORK PROGRAM?
WOLF and LAWRENCE, JJ., concur.
